  Case: 3:13-cv-00416-TMR Doc #: 258 Filed: 09/16/19 Page: 1 of 2 PAGEID #: 8257




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO

 ROGER DEAN GILLISPIE,                           :   CASE NO. 3:13-CV-416
                                                 :
        Plaintiff,                               :   Judge Thomas M. Rose
                                                 :   Magistrate Judge Sharon L. Ovington
 v.                                              :
                                                 :
 THE CITY OF MIAMI TOWNSHIP, et al.,             :   NOTICE OF FILING OF
                                                 :   DEPOSITION TRANSCRIPT
        Defendants.                              :
                                                 :
                                                 :


       Pursuant to Rule 30(F) of the Federal Rules of Civil Procedure, the following deposition

transcript has been filed with the Court. The deposition is being filed for the purposes of a Motion

for Summary Judgment and for purposes of trial:


               Denise Rankin          Taken          April 23, 2019



                                              Respectfully submitted,


                                              /s/ Edward J. Dowd
                                              Edward J. Dowd (0018681)
                                              Dawn M. Frick (0069068)
                                              Christopher T. Herman (0076894)
                                              SURDYK, DOWD & TURNER, CO., L.P.A
                                              8163 Old Yankee Street, Suite C
                                              Dayton, Ohio 45458
                                              (937) 222-2333 || (937) 222-1970 (fax)
                                              edowd@sdtlawyers.com
                                              dfrick@sdtlawyers.com
                                              cherman@sdtlawyers.com
                                              Trial Attorneys for Defendant, Miami Township,
                                              Ohio
 Case: 3:13-cv-00416-TMR Doc #: 258 Filed: 09/16/19 Page: 2 of 2 PAGEID #: 8258




                               CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the Court on
September 16, 2019, using the CM/ECF system, which will send notification of such filing to all
CM/ECF participants.


                                                   /s/ Edward J. Dowd
                                                   Edward J. Dowd (0018681)
                                                   Dawn M. Frick (0069068)
                                                   Christopher T. Herman (0076894)
